

Matter of Gracekapur (2020 NY Slip Op 08149)





Matter of Gracekapur


2020 NY Slip Op 08149


Decided on December 31, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 31, 2020

PM-176-20

[*1]In the Matter of Kristen Gracekapur, an Attorney. (Attorney Registration No. 5463740.)

Calendar Date: December 28, 2020

Before: Lynch, J.P., Aarons, Pritzker, Reynolds Fitzgerald and Colangelo, JJ.


Kristen Grace Kapur, Henrico, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Kristen Grace Kapur was admitted to practice by this Court in 2016 and lists a business address in Henrico, Virginia with the Office of Court Administration. Kapur now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Kapur's application.
Upon reading Kapur's affidavit sworn to August 28, 2020 and filed September 2, 2020, and upon reading the December 16, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Kapur is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Lynch, J.P., Aarons, Pritzker, Reynolds Fitzgerald and Colangelo, JJ., concur.
ORDERED that Kristen Grace Kapur's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Kristen Grace Kapur's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Kristen Grace Kapur is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Kapur is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Kristen Grace Kapur shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








